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                                                                     FILED
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Attorneysfor Plaintiffs


                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING



TIMOTHY FOYE and JEAN FOYE,
husband and wife,

        Plaintiffs,
                                                         Civil No.
vs.



DAIMLER TRUCKS NORTH AMERICA                        COMPLAINT & DEMAIVD FOR
LLC; DETROIT DIESEL                                          JURY TRIAL
CORPORATION; and JOHN DOES I-V,

        Defendants.



       Plaintiffs Timothy and Jean Foye, through their attorneys Tyson E. Logan, Grant

H. Lawson, and Michael F. Lutz of The Spence Law Firm, LLC, bring this Complaint

against Defendants:

                                     I.     PARTIES


L      This case arose on or about October 4, 2013 when Plaintiff Timothy Foye was

seriously and permanently injured by carbon monoxide (CO) gas emitted from his

tractor-trailer while working as a long-haul trucker.



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2.      The tractor-trailer that Mr. Foye was driving on or about October 4, 2013

(hereinafter "the Truck"):

        a.      was a 2007 Freightliner Century Class;

        b.      was powered by a Detroit Diesel Series 60 engine;

        c.      was assigned Vehicle Identification Number 1FUJBBCK77PZ20581; and

        d.     on or about October 4, 2013 carried Arizona license plate number

               AE29707.


3.      Mr. Foye and Plaintiff Jean Foye are, and at all relevant times were, lawfully

married as husband and wife.


4.      Mr. and Mrs. Foye are, and at all relevant times were, Utah citizens residing in

Washington County, Utah.

5.      Defendant Daimler Trucks North America LLC Hkla. Freightliner Corporation

("Daimler") is a Delaware limited liability company whose principal place of business is

in Oregon. Daimler does business in the State of Wyoming.

6.      On information and belief, Defendant Daimler designed, tested, and/or

manufactured the Truck and some components of the Truck's exhaust system, which

poisoned Mr. Foye, and/or failed to adequately warn of defects in the Truck and its

components and systems.

7.      Defendant Detroit Diesel      Corporation ("Detroit Diesel") is a Delaware

corporation whose principal place of business is in Michigan.       Detroit Diesel does

business in the State of Wyoming.

8.      Detroit Diesel is a subsidiary of Daimler.




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9.        On information and belief, Defendant Detroit Diesel designed, tested, and/or

manufactured the engine and other components of the exhaust system, which poisoned

Mr. Foye, and/or failed to adequately warn of defects in those components and systems.

10.       Defendants John Does I-V are business entities or individuals who designed,

tested, and/or manufactured the Truck, engine, and/or exhaust system that poisoned Mr.

Foye; and/or failed to adequately warn about defects in the Truck and its components and

system.

11.       The true identities of John Doe Defendants are currently unknown and not

reasonably discoverable by Mr. and Mrs. Foye.

12.       Defendants are vicariously liable for the acts of their officers, directors, managers,

employees, agents, and servants undertaken within the scope of their duties.


                           n.      JURISDICTION AND VENUE

13.     Plaintiffs incorporate by reference all other allegations in this Complaint.

14.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

the parties are citizens of different states and the amount in controversy exceeds Seventy-

Five Thousand Dollars ($75,000.00) exclusive of interest and costs.

15.     This Court has personal jurisdiction because the facts and circumstances giving

rise to Mr. and Mrs. Foye's causes of action arose in Converse County, Wyoming and

Defendants have sufficient contacts with Wyoming.

16.     Defendants maintain continuous and systematic contacts with the State of

Wyoming: Defendants sell vehicles and component parts that they manufacture in

Wyoming through local and national vehicle dealers doing business in the State of

Wyoming; Defendants license certified dealerships and repair shops in Wyoming and



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provide standards and training for those dealerships and repair shops in Wyoming; and

defendants purposefully market and sells their vehicles through distributors in Wyoming.

17.     Defendants have purposefully availed themselves of the privileges and benefits of

conducting business in Wyoming

18.     This Court is the proper venue pursuant to 28 U.S.C. § 1391 because a substantial

part of the events and omissions giving rise to the claims occurred in Wyoming.


             in.     FACTS COMMON TO ALL CAUSES OF ACTION

19.     Plaintiffs incorporate by reference all other allegations in this Complaint.

20.     Detroit Diesel designed, tested, assembled, and/or manufactured the engine and

components of the exhaust system in such a manner that they were unreasonably

dangerous to truck drivers due to their propensity to fail and emit CO.

21.    Detroit Diesel failed to adequately warn truck drivers of this danger, either

directly or through intermediaries.

22.    Daimler designed, tested, assembled, and/or manufactured the Truck, including

components of the exhaust system, in such a manner that they were unreasonably

dangerous to truck drivers due to their propensity to fail and emit CO.

23.    Daimler failed to adequately warn truck drivers of this danger, either directly or

through intermediaries.

24.    John Does I through V designed, tested, assembled, and/or manufactured the

Truck and/or its component parts in such a manner that they were unreasonably

dangerous to truck drivers due to their propensity to fail and emit CO.

25.    John Does I through V failed to adequately warn truck drivers of this danger,

either directly or through intermediaries.



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26.      The foreseeable risks of harm posed by Defendants' products could have been

reduced or avoided by adoption of reasonable alternative designs.

27.      The danger posed by Defendants' products was concealed, not common

knowledge, and not reasonably apparent to an ordinarily careful truck driver.

28.      On or about October 4, 2013, and in the weeks prior to that date, Kodiak Fresh

Produce, LLC ("Kodiak") employed Mr. Foye as a long-haul truck driver.

29.      Mr. Foye did not misuse the Truck, engine, exhaust system, or any other

component parts.

30.      Mr. Foye used the Truck, engine, exhaust system, and other component parts in a

manner reasonably foreseeable to Defendants.

31.      Defendants' improper or inadequate design, testing, assembly, manufacture, and

warnings directly, proximately, and foreseeably caused Mr. Foye's injuries and damages

described below.


32.      For several weeks during the fall of 2013 Mr. Foye drove the Truck six days a

week. During this time, Mr. Foye slept in the Truck.

33.      During this time, the Truck was exposing Mr. Foye to CO.

34.      CO is a colorless, odorless gas.

35.      Mr. Foye experienced headaches and nausea due to low-level, chronic CO

exposure during the weeks prior to October 4, 2013.

36.      Mr. Foye did notice that the cab of the Truck frequently was filled with exhaust

fumes.


37.      However, Mr. Foye neither knew, nor reasonably should have known, that he was

being exposed to CO.




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38.     On October 4, 2013, Mr. Foye was driving the Truck through Converse County,

Wyoming.

39.     As a result of a snowstorm, the highway was closed.

40.     Mr. Foye parked the Truck at the Orin Junction Rest Area near Orin in Converse

County, Wyoming.

41.     Due to the cold weather, Mr. Foye had to run the Truck's engine to power the

bunk heater so that he would not freeze.

42.     The Truck engine generated CO, which was leaked from the exhaust system and

entered the Truck's cab, poisoning Mr. Foye.

43.     Mr. Foye suffered acute CO exposure. He became disoriented, dizzy, nauseous,

and incoherent.


44.     Mr. Foye called Mrs. Foye, who realized that something was severely wrong with

her husband. She told him to call 911.

45.    Mr. Foye called 911. The dispatcher told him to turn off his engine, leave the

Truck, and wait for help at the rest stop.

46.    Mr. Foye followed the dispatcher's instructions.

47.    EMS arrived and transported Mr. Foye to the Converse County Medical Center by

ambulance.


48.    Prior to being poisoned by CO, Mr. Foye was a hard-working wage earner.

49.    Prior to being poisoned by CO, Mr. Foye was physically strong and active.

50.    Prior to being poisoned by CO, Mr. Foye was a skilled handyman who remodeled

homes, did tiling, electrical work, plumbing, dry walling, and roofing.




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51.    Prior to being poisoned by CO, Mr. Foye was friendly, outgoing, and supportive

to Mrs. Foye.

52.    After being poisoned by CO, all this changed. Mr. Foye is now incapable of

working or helping his wife around the home, and even has difficulty with such simple

tasks as walking without passing out or losing his balance and carrying on a conversation.

53.    As a result of the CO poisoning Mr. Foye is completely and permanently disabled

— he is unable to drive or perform any other work. Mr. Foye's injuries and damages,

which were caused by his CO poisoning and were the foreseeable consequence of

Defendants' negligence, include but are not limited to:

       a.       Permanent brain injury;

       b.       Cognitive deficits and physical disability, including but not limited to

       problems with attention, processing, following simple directions, memory, and

       difficulty formulating ideas and logical thoughts, finding words and completing

       sentences (these cognitive deficits interfere with his ability to do basic tasks like

       carry on a conversation or watch a TV show);

       c.       Serious cardiac condition;

       d.       Loss of balance and equilibrium;

       e.       Severe migraine headaches, and sensitivity to noise and light;

       f        Double vision;

       g.       Hearing deficits and tinnitus;

       h.       Depression and sleep disorder, anxiety, and panic attacks;

       i.       Loss of libido; and

      j.        Other serious and permanent injury.




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54.    Sometime after Mr. Foye's acute poisoning, on or about October 16, 2013, the

Truck was inspected at the Boss Shop in Laramie, Wyoming.

55.    The Boss Shop noted that "the whole right hand side of the motor is covered in

soot," that the exhaust manifold and bottom of the turbo were cracked, and that there

were other leaks in the exhaust system.

56.    As a direct, proximate, and foreseeable result Defendants' defective and

unreasonably dangerous product(s) and/or negligent acts and omissions, Mr. and Mrs.

Foye have suffered damages including but not limited to:

       a.       Past and future physical pain and suffering in an amount to be proven at

       trial;

       b.       Past and future emotional pain and suffering in an amount to be proven at

       trial;

       c.       Past and future loss of enjoyment of life in an amount to be proven at trial;

       d.       Past and future disability in and amount to be proven at trial;

       e.       Past and future loss of wages, income, and earning capacity in an amount

       to be proven at trial;

       f        Other past and future pecuniary loss in an amount to be proven at trial;

       g.       Past and future medical and related expenses in an amount to be proven at

       trial;

       h.       Loss of past and future consortium including the loss of Mr. Foye's

       services, society, companionship, affection, love, advice, guidance, and/or sexual

       relations; and

       i.       All allowable costs, expenses, and fees associated with this litigation.




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57.     Mr. and Mrs. Foye reserve the right, if justified by the evidence obtained during

discovery, to assert a claim for punitive damages.


      TV.    FIRST CAUSE OF ACTION — STRICT PRODUCTS LIABILITY

58.     Plaintiffs incorporate by reference all other allegations in this Complaint.

59.     Defendants were engaged in the business of designing, testing, assembling,

manufacturing, and selling the Truck and its component parts that caused Mr. Foye's CO

exposure and resulting injuries.

60.     The Truck and its component parts were in a defective condition unreasonably

dangerous to the Truck's driver when sold.

61.     The Truck was intended to, and did, reach Mr. Foye without a substantial change

in its condition, or if its condition deteriorated, such deterioration was foreseeable and a

result of a preexisting defect inherent in the Truck and/or its component parts.

62.     The Truck physically harmed Mr. Foye by poisoning him with CO.

63.     The poisoning was a direct, proximate, and foreseeable result of the defective

condition of the Truck and its component parts.

64.     Defendants had a duty to warn the Truck's buyer, owner, and/or drivers, directly

and/or through intermediaries, that the Truck was in a defective condition unreasonably

dangerous to the drivers.

65.     Defendants' duty to warn continued even after the Truck was sold.

66.    Defendants failed to warn the Truck's buyer, owner, and/or drivers, either directly

and/or through intermediaries, that the Truck was in a defective condition unreasonably

dangerous to the drivers.




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67.     Defendants failed to adequately instruct tractor-trailer mechanics, inspectors,

technicians, repairpersons, and/or drivers in how to detect and remedy the latent dangers

in their products.

68.     Defendants are strictly liable for Mr. Foye's damages proximately caused by the

defects in the Truck and its component parts, regardless of their fault.


              V.      SECOND CAUSE OF ACTION — NEGLIGENCE

69.    Plaintiffs incorporate by reference all other allegations in this Complaint.

70.    Defendants had a duty not to expose truck drivers to a foreseeable and

unreasonable danger of CO poisoning.

71.    Defendants breached this duty by acts and omissions including:

       a.      negligent design of the Truck and its component parts;

       b.      negligent testing of the Truck and its component parts;

       c.      negligent manufacturing of the Truck and its component parts;

       d.      negligent assembly of the Truck and its component parts;

       e.      negligent failure to warn about defects in the design and manufacture of

       the Truck and its component parts; and/or

       f       negligent failure to adequately         instruct tractor-trailer   mechanics,

       inspectors, technicians, repairpersons, and/or drivers in how to detect and remedy

       the latent dangers in their products.

72.    Defendants did not exercise the care required of reasonably careful product

designers, testers, manufacturers, assemblers, and sellers.

73.    As a proximate result of Defendants' negligent acts and omissions, Mr. Foye was

exposed to CO and suffered severe injuries and damages.



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   VI.        THIRD CAUSE OF ACTION — LOSS OF SPOUSAL CONSORTIUM

74.      Plaintiffs incorporate by reference all other allegations in this Complaint.

75.      As a direct and proximate result of the Defendants' negligent acts and omissions,

Mr. Foye cannot adequately perform his duties as Mrs. Foye's husband, such as;

         a.     Providing household services and upkeep of their home; and

         b.     Providing emotional support including: society, companionship, affection,

         love, advice, guidance, and physical intimacy.



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                              Vn.    PRAYER FOR RELIEF

         Mr. and Mrs. Foye respectfully request that the Court enter judgment in their

favor and against the Defendants in an amount supported by the allegations of this

Complaint and the evidence at trial, as follows:

1.       Judgment against Defendants for general damages in an amount consistent with

the allegations contained herein and to be proven at trial;

2.       Judgment against Defendants for special damages in an amount consistent with

the allegations contained herein and to be proven at trial; and

3.       Judgment for costs, interests, and such other and further relief as this Court deems

just and equitable.



                   lis^^c
         DATED this?Td day of October, 2015.




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                              DEMAND FOR JURY TRIAL


       Pursuant to Federal Rule of Civil Procedure 38 Mr. and Mrs. Foye demand a jury

trial to resolve this matter, and submit the requisite fee herewith.



                  lisM
       DATED this^raday of October, 2015.


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